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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

ALLAN ROBERTS et al.,                                       )
                                                            )
Plaintiffs,                                                 )
                                                            )
v.                                                          ) Case No. 1:20cv1227
                                                            )
ISLAMIC REPUBLIC OF IRAN                                    )
                                                            )
Defendant.                                                  )

                          MEMORANDUM IN SUPPORT OF
                   PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT

       Plaintiffs, Allan Roberts et al., come before this Court seeking a finding of liability,

appointment of a special master to determine damages, and the entry of default judgment against

the Islamic Republic of Iran (“Iran”), and in support thereof state as follows:

I.     INTRODUCTION

       After the fall of Saddam Hussein in 2003, Iran perceived the continued presence of the

United States and its allies in Iraq as an existential threat to its own sovereignty. In response, as

summarized from the front lines in 2006 by Lieutenant General Peter W. Chiarelli of Multi-

National Corps–Iraq, Iran began “pursuing a multi-faceted, interventionist policy in Iraq” with

the intent to establish a pro-Iranian Iraqi government and “to either accelerate the withdrawal of

Coalition Forces, or perhaps, to keep us tied up here and ‘bleed us white’.” The U.S. Army in the

Iraq War, Vol. 1, United States Army War College Press, 573 (2019).

       In pursuit of this goal, Iran and its proxies introduced a weapon onto the battlefield of

Iraq, the explosively formed penetrator (“EFP”). An EFP is specifically and specially engineered

to pierce the armored vehicles used by the Coalition soldiers and contractors that would

otherwise be relatively secure against the more crude improvised explosive devices commonly
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utilized by Iraqi insurgents. Using the EFPs manufactured and distributed by Iran, Iraq’s Shia

militias achieved exponentially greater lethality from their roadside attacks.

       In the midst of this lethal conflict, Allan Roberts, Jaco Botes, Steven Crowley, John

Jameson, Abdul Mughal, George Riekert, Christiaan Oosthuizen, George Kieser, Johann

Steenberg, Leon Botha, Dean Capazorio, Pierre du Plessis, and Schalk Bruwer (“the Victim

Plaintiffs”) signed up to serve as contractors in Iraq for companies employed by various agencies

of the United States. The Victim Plaintiffs were subjected to physical and emotional trauma as

the result of the detonation of an EFP during the 2004–2011 timeframe (“the EFP Attacks”). This

trauma included amputations, shrapnel wounds, traumatic brain injuries, and PTSD. The Victim

Plaintiffs now seek a civil judgment to compensate them for their pain, suffering, and emotional

distress, as well as lost income and diminished earning capacity. The immediate family members

of the Victim Plaintiffs (“the Family Plaintiffs”), whose exact relation to the Victim Plaintiffs are

specified via the attached affidavits of the Victim Plaintiffs, seek compensation for solatium

damages through related claims for intentional infliction of emotional distress.

       Because of its longstanding support for international terrorists, including its specific and

material support of violent militias in Iraq since at least 2004, Iran has forfeited its immunity to

the claims brought in this matter under the Foreign Sovereign Immunities Act (“FISA”). See 28

U.S.C. § 1605A. As the manufacturer, state sponsor, supplier, trainer and instigator of the EFP

Attacks, Iran is liable to Plaintiffs for the damages claimed in this case.

II.    PROCEDURAL HISTORY

       Plaintiffs filed their Complaint in this matter on May 11, 2020. ECF No. 1. A summons

was issued against Iran the following day. ECF No. 3. Plaintiffs initiated service by mail under

28 U.S.C. § 1608(a)(3) on June 8, 2020, ECF No. 6, which was processed by the Clerk’s Office




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on June 9, 2020, ECF No. 7. After waiting the requisite thirty days, Plaintiff initiated diplomatic

service pursuant to 28 U.S.C. § 1608(a)(4). ECF No. 8. Iran was formally served in this manner

on November 4, 2020. ECF No. 13. Plaintiffs requested entry of default on January 12, 2021,

ECF No. 14, and the Clerk entered it the next day. ECF No. 15.

III.     REQUEST FOR JUDICIAL NOTICE OF EVIDENCE PRESENTED IN A
         RELATED PROCEEDING

        A trial court “may judicially notice a fact that is not subject to reasonable dispute because

it: (1) is generally known within the trial court's territorial jurisdiction; or (2) can be accurately

and readily determined from sources whose accuracy cannot reasonably be questioned.” Fed. R.

Evid. 201(b). This inherent power includes the ability to take judicial notice of “court records in

related proceedings.” Rimkus v. Islamic Republic of Iran, 750 F. Supp. 2d 163, 171 (D.D.C.

2010) (citing Booth v. Fletcher, 101 F.2d 676, 679 n. 2 (D.C. Cir. 1938) (“A court may take

judicial notice of, and give effect to, its own records in another but interrelated proceeding.”)).

Based on this principle, and in response to “the multiplicity of FSIA-related litigation in this

jurisdiction, Courts in this District have thus frequently taken judicial notice of earlier, related

proceedings.” Id.

        Taking judicial notice of related proceedings, however, “does not conclusively establish

the facts” for purposes of the case at bar. Murphy v. Islamic Republic of Iran, 740 F. Supp. 2d

51, 59 (D.D.C. 2010). Instead, the trial court takes judicial notice of the earlier record for the

purpose of reviewing “evidence considered in the prior proceeding without necessitating the re-

presentment of such evidence.” Salzman v. Islamic Republic of Iran, No. 1:17cv2475, 2019 WL

4673761, at *3 (D.D.C. Sept. 25, 2019) (quoting Murphy, 740 F. Supp. 2d at 59).

        In a very similar case, this Court received evidence concerning Iran’s liability for the

manufacture, distribution, and detonation of EFP devices in Iraq during the same time period at



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issue here. See generally, Karcher v. Islamic Republic of Iran, Case No. 1:16cv232

(“Karcher”).1 That case revolved around the use of EFP devices to attack American military

personnel in Iraq. Karcher v. Islamic Republic of Iran, 396 F. Supp. 3d 12, 14 (D.D.C. 2019).

The Court held a bench trial, from December 3–6, 2018, and the plaintiffs presented a wide

variety of testimony and evidence for the Court’s consideration.

           In the process of ultimately proving their case, the Karcher plaintiffs established the key

finding that “identification of the weapon as an EFP all but necessitates the inference that Iran

was responsible.” Id. at 30 (emphasis in original). After considering plaintiff’s evidence in

Karcher, and “absent any indication that any of these EFPs was not backed by Iran,” the Court

granted their request for a default judgment. Id. (emphasis in original).

           Plaintiffs here suggest that this Court should take judicial notice of the expert testimony

presented in Karcher. Such an approach has already been used in this District in a post-Karcher

case to help establish liability. In Lee v. Islamic Republic of Iran, the Court found that it “may

rely on the evidence presented to the Karcher court, but must nonetheless ‘reach [its] own,

independent findings of fact.’” Case No. 1:19cv00830, 2021 WL 325958, at *2 (D.D.C. Feb. 1,

2021) (quoting Rimkus, 750 F. Supp. at 172). Relying heavily on facts submitted through judicial

notice, the Court granted the EFP victims in Lee a default judgment as to liability. Id. at *15.

           The present case closely resembles Karcher and Lee. All three matters center on Iraqi

militias and their use of the same weapon, the EFP. The timeframe of the attacks—2004 to

2011—is identical. The same theory of liability is central to each case, namely that Iran

manufactured, distributed, and trained (whether directly or through its agents and proxies) Iraqi

militias in the use of EFP devices for the express purpose of attacking American interests. This



1
    References to docket entries or pleadings from Karcher will be cited herein as “Karcher, ECF No. X.”


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proximity in time and place, and the similar factual and legal theories of liability, weigh strongly

in favor of this Court’s ability to take judicial notice of evidence presented in Karcher, just as the

Court did in Lee.

        Because the cases are closely connected, and because the evidence in Karcher has

already been found reliable in this Court twice-over, it serves the interests of justice and judicial

economy for that evidence to be considered via judicial notice rather than requiring Plaintiffs to

re-present the same material. See Salzman, 2019 WL 4673761, at *3.

        That being said, and as will be shown in detail below, Plaintiffs’ case here stands

independent of the Karcher evidence, even though it can be corroborated and supported by it.

Plaintiffs have retained Michael Pregent and D. Wade Barker, highly qualified experts whose

opinions are sufficient to prove each element of Plaintiffs’ liability claims.

        Mr. Pregent worked as a subject matter expert for the Defense Intelligence Agency in

Iraq from 2006 to 2011, advising on substantially the same issues upon which he is testifying

here. Ex. 1 at ¶ 2. Even after leaving Iraq, he continued to stay informed and involved with these

subjects, academically contributing to the U.S. Army’s History of the Iraq War publication as an

expert on the subject of Iran’s support for Iraqi militia groups. Id. at ¶ 4.

        Mr. Barker, while in active-duty service in Iraq, oversaw the development of

countermeasures to the proliferation and deployment of EFPs during the time period relevant to

this case. Ex. 2 at ¶ 2. He continued his study of EFP devices after leaving active duty, serving

an additional two tours in Afghanistan as a civilian contractor. Id. at ¶ 3. His current work

involves the development of products and systems designed to counter EFP technology in the

battlefield. Id. at ¶ 4.




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        Both retained experts have provided a detailed analysis and uncontroverted opinions

regarding Iran’s role in the EFP Attacks. But in addition to these reports, Plaintiffs respectfully

suggest that this Court should take judicial notice of the following expert reports that were

submitted in Karcher:

                •       Expert Report Michael Oates (Karcher, ECF No. 85);

                •       Expert Report of Michael Pregent (Karcher, ECF No. 86);

                •       Expert Report of Leo Bradley (Karcher, ECF No. 87);

                •       Expert Report of Russell McIntyre (Karcher, ECF No. 88);

                •       Expert Report of D. Wade Barker (Karcher, ECF No. 89);

                •       Expert Report of Kevin Lutz (Karcher, ECF No. 90).

        As an added layer of connection to the instant matter and the present time, Plaintiffs’

retained experts in this case have collectively reviewed each of these reports and affirmed that

the relevant content is consistent with their current perspectives and opinions regarding the

subject matter at issue in the instant case. Ex. 1 at ¶ 14; Ex. 2 at ¶ 10.

IV.     LEGAL STANDARD FOR ENTRY OF DEFAULT

        “Under the FSIA, a court cannot simply enter default judgment; rather, out of respect for

the principle of sovereign immunity, it must ensure that the plaintiffs have established their claim

or right to relief by evidence that is satisfactory to the court.” Estate of Botvin v. Islamic

Republic of Iran, 873 F. Supp. 2d 232, 236 (D.D.C. 2012); see also 28 U.S.C. 1608(e). This

standard is identical to the standard for entry of default judgment against the United States under

Fed. R. Civ. P. 55(d). See Hall v. Republic of Iraq, 328 F. 3d 680, 683–84 (D.C. Cir. 2003).

        “When the Defendant State fails to appear and the plaintiff seeks a default judgment, the

FSIA leaves it to the court to determine precisely how much and what kinds of evidence the

plaintiff must provide.” Han Kim v. Democratic People’s Republic of Korea, 774 F. 3d 1044,


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1047 (D.C. Cir. 2014); see also Reed v. Islamic Republic of Iran, 845 F. Supp. 2d 204, 211

(D.D.C. 2012) (via sworn affidavits); Salazar v. Islamic Republic of Iran, 370 F. Supp. 2d 105,

109 n.6 (D.D.C. 2005) (by taking “judicial notice of related proceedings and records”); Bodoff v.

Islamic Republic of Iran, 424 F. Supp. 2d 74, 78 (D.D.C. 2006) (with or without a live

evidentiary hearing). In sum, evidence “satisfactory to the Court,” 28 U.S.C. 1608(e), may be

provided at an evidentiary hearing, but it can also consist of “sworn affidavits or declarations,

prior judicial fact-findings, and other documents submitted in accordance with the Federal Rules

of Evidence.” Ewan v. Islamic Republic of Iran, 466 F. Supp. 3d 236, 242 (D.D.C. 2020).

         In weighing the evidence, the trial court must consider Congress’s stated purpose in

enacting § 1605A—to “compensate the victims of terrorism [so as to] punish foreign states who

have committed or sponsored such acts and [to] deter them from doing so in the future,” Kim,

774 F. 3d at 1408 (citation omitted)—while simultaneously recognizing the difficulty in

obtaining “firsthand evidence and eyewitness testimony . . . from an absent and likely hostile

sovereign,” Owens v. Republic of Sudan, 864 F. 3d 751, 785 (D.C. Cir. 2017). Although “[t]he

Court must scrutinize the plaintiff's allegations,” Bluth v. Islamic Republic of Iran, 203 F. Supp.

3d 1, 17 (D.D.C. 2016), it should also “accept as true the plaintiffs’ uncontroverted evidence,”

see Elahi v. Islamic Republic of Iran, 124 F. Supp. 2d 97, 100 (D.D.C. 2000); see also Bennett v.

Islamic Republic of Iran, 507 F. Supp. 2d 117, 125 (D.D.C. 2007), “including proof by

affidavit,” Wachsman ex rel. Wachsman v. Islamic Republic of Iran, 603 F. Supp. 2d 148, 155

(D.D.C. 2009).2



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  Based on the sworn affidavits attached hereto, see Exs. 1–15, and the materials from Karcher that can be
considered via judicial notice, see supra Part III, Plaintiffs submit that it is reasonable and appropriate for the Court
to rule on liability without the need for an evidentiary hearing. Proceeding in this manner would have the secondary
benefit of avoiding the challenges inherent in travel during the ongoing pandemic, particularly for internationally
located parties. If, however, the Court prefers to receive live testimony, Plaintiffs are prepared and willing to
proceed immediately.


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V.      STATEMENT OF FACTS

        A.      Iran’s Longstanding Support of International Terrorism

        Since the Iranian revolution in 1979, Iran has supported terrorist organizations and

international acts of terrorism as an instrument of its stated foreign policy goals. Ex. 1 at ¶ 15;

Karcher, ECF No. 85 at 12. As a result of this widespread support for terrorist groups such as the

Lebanese Hezbollah (“Hezbollah”), the State Department formally designated Iran as a state

sponsor of terrorism in 1984. Ex. 1 at ¶¶ 16–17; see also 49 Fed. Reg. 2836 (Jan. 23, 1984); Est.

of McCarty v. Islamic Republic of Iran, Case No. 1:19cv853, 2020 WL 7696062, at *3 (D.D.C.

Dec. 28, 2020) (“Iran committed substantial support to fund Hezbollah’s acts of ‘terrorism as an

official means of forwarding foreign policy’ in the early 1980s”).

        Iran’s support for terrorism is largely carried out under the umbrella of the Islamic

Revolutionary Guard Corp (“IRGC”), a paramilitary organization that answers directly to the

Supreme Leader of Iran. Ex. 1 at ¶ 23; Karcher, ECF No. 88 at 5. The IRGC was designated as a

Foreign Terrorist Organization in April 2019, in large part due to its active role in providing EFP

devices to Iraqi militias. Ex. 1 at ¶ 24.

        Within the IRGC is a specialized branch known as the Qods Force (“IRGC-QF”). The

IRGC-QF is primarily focused on foreign operations and has a long and well-documented history

of supporting terrorism on behalf of Iran. In recognition of this malign behavior, the U.S.

Department of Treasury designated the IRGC-QF as a Specially Designated Global Terrorist in

October 2007. Id. at ¶ 26; Karcher, ECF No. 88 at 4 n.1, 5 n.3. When explaining the purposes for

this designation, the Treasury Department explained that the IRGC-QF provides “lethal support

in the form of weapons, training, funding, and guidance to select groups of Iraqi Shi’a militants

who target and kill Coalition and Iraqi forces and innocent Iraqi citizens.” Id.




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          Iran, through the IRGC and the IRGC-QF, has groomed Hezbollah as its premier proxy

militia in the region. Id. at ¶ 17; see also Hamen v. Islamic Republic of Iran, 401 F. Supp. 3d 85,

93 (D.D.C. 2019). Iran has historically provided Hezbollah with between $100 and $200 million

annually, Ex. 1 at ¶ 17, growing in recent years to be estimated as high as $1 billion, Fritz v.

Islamic Republic of Iran, 320 F. Supp. 3d 48, 60 (D.D.C. 2018) (citing expert opinion of Dr.

Levitt). In exchange, Hezbollah often aides Iran in the execution of complex attacks and the

creation and/or training of additional proxy militias. Ex. 1 at ¶ 18, 20–22; Karcher, ECF No. 88

at 8–9.

          Leveraging its successful longstanding relationship with Hezbollah, Iran has repeatedly

attempted to replicate this type of proxy relationship throughout the Middle East, including—

most notably and successfully—in Iraq. Ex. 1 at ¶ 27.

          B.     Iran’s History of Malign Influence in Iraq

          Iran has a long and tense history with its Iraqi neighbors. During the reign of Saddam

Hussein, the two countries engaged in a protracted war, resulting in the exile of many Shia Iraqis

into Iran. Id. at ¶ 29. As part of its conflict with Iraq, Iran molded these Shia exiles into a fighting

force known as the Badr Corps. Id.; Karcher, ECF No. 88 at 15. After the Coalition invasion and

the fall of Saddam in 2003, Iran quickly dispatched the Badr Corps into Iraq, serving as a de

facto arm of the IRGC that was integrated into the rebuilt Iraqi security forces. Ex. 1 at ¶¶ 29–30;

Karcher, ECF No. 85 at 15; Karcher, ECF No. 88 at 16.

          In addition to the Badr Corps, Iran supported an insurgency threat to the Coalition named

Jaysh al-Mahdi (“JAM”), a nationalist militia established by Shia cleric Muqtada al-Sadr for the

purpose of resisting what it perceived as the continued occupation of Iraq by foreign forces. Ex.

1 at ¶ 31; Karcher, ECF No. 85 at 17–18. Iran, in an effort to further its influence within Iraq and




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increase its ability to strike Coalition forces, used its relationship with al-Sadr to become an early

benefactor of JAM. Id.; see also Frost v. Islamic Republic of Iran, 383 F. Supp. 3d 33, 40

(D.D.C. 2019).

       In the first several years after the invasion, Iran consistently provided both the Badr

Corps and JAM with money, weapons, training, and advice for the specific purpose of

undermining the reconstruction efforts. Ex. 1 at ¶ 31. As the years passed, Iran refocused its

efforts in Iraq by handpicking leaders and elite talent from the ranks of the Badr Corps and JAM

to lead new, more directly controlled, elite militia groups. Id. at ¶¶ 32–34; Karcher, ECF No. 88

at 39–47. Those new groups included, among others, Kataib Hezbollah and Asa’ib Ahl al-Haq.

Id.

       Between 2004 and 2011, Iran provided advanced weapons, including EFP devices and

components, financial support, and military training to all of its proxies in Iraq. Ex. 1 at ¶ 33.

These efforts were supported and carried out by Hezbollah, with training camps hosted both

within Iran and in Lebanon. Id.; Karcher, ECF No. 88 at 66–67. This support was so material

and expansive that substantial percentages of United States military casualties could be tied to

known IRGC-QF proxy organizations. Ex. 1 at ¶ 35; Karcher, ECF No. 85 at 29 (quoting Major

General Lynch, explaining “that the technology and the financing and the training of the [EFPs]

are coming from Iran”). In sum, “the Iranian regime was content to fund, train, and supply all

parties willing to attack the U.S.-led coalition.” Id. at ¶ 36 (quoting The U.S. Army in the Iraq

War, Vol. 2, United States Army War College Press, 66 (2019)).

       C.      The Proliferation of EFPs into Iraq

       The Iran-Hezbollah partnership is intimately connected to the history of the EFP. The

first modern EFP was developed by Hezbollah in the 1990s, using support and resources from




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Iran, for use against Israeli armored vehicles. Ex. 2 at ¶ 11. The first recorded EFP attack took

place on October 5, 1998 in Lebanon. Id. at ¶ 12; Karcher, ECF No. 88 at 13.

       Hezbollah and Iran, in partnership, began distributing EFP devices to Iran’s proxies in

Iraq in 2004. Ex. 1 at ¶ 40; Ex. 2 at ¶ 13; Karcher, ECF No. 85 at 25 n.51 (quoting State

Department - Country Reports on Terrorism 2006); Karcher, ECF No. 88 at 27. The initial

instances of EFP attacks in Iraq were immediately associated with the Hezbollah design and

Iranian support. Karcher, ECF No. 88 at 55 (quoting “the Chilcot Report”).

       Concurrently with the supply of these weapons, Iran arranged for the training of large

numbers of militia members in the appropriate assembly and use of EFP devices – a necessary

component for the devices to be effective. Ex. 2 at ¶ 13; Karcher, ECF No. 90 at 19–21. Late in

2004, British intelligence reports concluded that rapid advancements in EFP technology focused

in Shia-controlled areas of Iraq “could only have been achieved through focused external

assistance.” Karcher, ECF No. 88 at 67. Eventually, detainee interrogations showed how EFP-

specific trainings were hosted by Hezbollah inside Iran for those militia members that showed

the required aptitude. Id. at 70–71.

       As early as October 2005, the American military began formally reporting on these

malign activities. Ex. 1 at ¶ 40 (explaining how the IRGC-QF had “support[ed] two separate

Iraqi EFP networks by sponsoring EFP [ ] training in Iran, Iraq, and Lebanon, and facilitating

movement of EFP network personnel and equipment between Iran and Iraq”). Before long,

“EFPs became ‘the signature weapon of Iranian-supported Special Groups.’” Karcher, ECF No.

87 at 19 (quoting Gen. David Petraeus, MNF-I Commander’s Weekly Assessment, April 14-20,

2008, at 37).




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        EFP devices are particularly effective against armored vehicles because of their special

design and specific components, particularly (1) the concave copper disc; and (2) the high-

energy explosives, such as C-4, that are used. Ex. 2 at ¶¶ 15–19. Mr. Barker summarizes by

stating that “the production of an effective EFP device requires access to very specific materials,

a certain level of manufacturing capability (for milling the copper plate to the exact thickness

required), and detailed knowledge of the process” and that other than “some basic manufacturing

skills and equipment, none of these three factors were generally available to Iraq’s Shia militias

between 2004 and 2011.” Id. at ¶ 24. Without the supply and assistance of Iran and Hezbollah,

EFPs would not have become a part of the arsenal used against Coalition forces during the time

period that is at issue in this case. Id. at ¶ 96.

        The Iranian supply of EFP devices and their components into Iraq was repeatedly

confirmed by the discovery of various caches and stockpiles by Coalition forces. Ex. 1 at ¶ 43;

Ex. 2 at ¶ 28; Karcher, ECF No. 87 at 19; Karcher, ECF No. 88 at 29–30, 59; Karcher, ECF No.

90 at 16–19. Military investigators often determined that particular EFP components originated

and/or were manufactured in Iran. Id. By contrast, when Iraqi militias did attempt to manufacture

their own EFP devices locally or using locally made components, they were easily identifiable

because of their poor quality, especially with the milling of the copper plates, impacting the

effectiveness of the weapons. Ex. 2 at ¶ 29; Karcher, ECF No. 90 at 21. Ultimately, however,

even if an Iraqi militia did manage to produce an effective EFP device, it would a) be based on

the same design introduced by Iran and Hezbollah, id. at ¶ 29, and b) require the use of high-




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energy explosives,3 which were only available to the militias thanks to Iran’s provision and

sponsorship, id. at ¶ 30; Karcher, ECF No. 90 at 23.

        Finally, Iran’s provision of equipment and its ongoing involvement in the execution of

EFP attacks is also borne out by inspecting the triggering mechanisms. Although it is possible to

do so via a direct command wire, many EFP devices in Iraq were armed using remote frequency

transmitters and then triggered by a passive infra-red device which would detonate when it

sensed the heat signature of a vehicle’s engine. Ex. 2 at ¶ 22; Karcher, ECF No. 85 at 25–26.

Coalition forces developed sophisticated countermeasures to these systems, including signal

jamming and decoy devices. Ex. 2 at ¶ 33. And yet, with each new development, the Iraqi

militias deploying the EFPs would quickly and effectively adapt to neutralize the Coalition

countermeasure. Id. at ¶ 32. Such sophisticated adaptation would not have been possible

“without the active involvement and oversight of the IRGC and Hezbollah.” Id. at ¶ 33; Karcher,

ECF No. 85 at 33 (adaptability “was a direct result of training and intelligence assessments

provided by Hezbollah under the IRGC-QF’s auspices”).

        In sum, the “militia groups in Iraq would not have developed the capabilities to

manufacture or obtain EFPs” without the material support and resources of Iran. Ex. 2 at ¶ 96.

The training provided “by Iran substantially increased the lethality and effectiveness of the” EFP

devices it supplied. Id. at ¶ 98; Karcher, ECF No. 90 at 74 (“without the direct and active

assistance and direction of the IRGC and Hezbollah, indigenous Shi’a terror cells would not have

been nearly as effective and lethal in attacking U.S. military armor in Iraq during the relevant




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 Mr. Barker explains in his sworn affidavit that common explosives, such as those generally available in Iraq
between 2004-2011, detonate at temperatures below the melting point of copper which leads to a failure to melt the
copper plate into its intended slug shape for a fully effective EFP. Ex. 2 at ¶¶ 17–19; see also Karcher, ECF No. 87
at 20. As explained below, the tell-tale damage marks identified by Mr. Barker in many of the photographs from the
EFP Attacks could only have been made by a properly manufactured, assembled, and detonated EFP device.


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period”). Ultimately, Iran’s purpose in funneling EFP devices into Iraq and providing the

accompanying training was to cause “violence to disrupt American interests in Iraq.” Ex. 1 at

¶ 49; see also Karcher, ECF No. 87 at 17 (describing Iran’s goal “to inflict pain on the United

States”).

       D.      The EFP Attacks

       The Victim Plaintiffs have provided first-hand information, photographs, and other

admissible evidence to establish certain foundational facts about each of the attacks at issue here.

Later in this Memorandum, those facts and the accompanying photographic evidence will be

discussed in light of the conclusions drawn by Plaintiffs’ retained experts concerning Iran’s

support for these attacks.

               i.      The November 20, 2004 EFP Attack.

       On November 20, 2004, Leon Botha was driving the second vehicle in a four-vehicle

escort convoy. Ex. 12 at ¶ 4. As they crossed the Olympic Bridge in Baghdad, an explosion

occurred on the left side of his vehicle. Id. at ¶ 5. Mr. Botha was struck by shrapnel in the face

and neck. Id. at ¶ 6. Some of the shrapnel pieces, which appeared to be made of copper, were

collected and photographed. Id. at ¶ 8. United States military personnel later informed both Mr.

Botha and George Kieser that the explosive device was an EFP. Id. at ¶ 9; Ex. 10 at ¶ 10.

               ii.     The May 16, 2005 EFP Attack.

       On May 16, 2005, Jaco Botes was the commander of the lead vehicle in a four-vehicle

convoy. Ex. 4 at ¶ 4. Johann Steenberg was the driver of the third vehicle. Ex. 11 at ¶ 4. A device

detonated about four feet to the left of the lead vehicle, from approximately window-height, and

the vehicle burst into flames. Id. at ¶ 5. Three men died instantly, and Mr. Botes sustained

shrapnel wounds to his leg, arm, and neck. Ex. 4 at ¶ 8.




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                iii.    The November 14, 2005 EFP Attack.

        On November 14, 2005, Pierre Du Plessis was the driver of the lead vehicle of a four-

vehicle escort convoy. Ex. 14 at ¶ 5. As the convoy passed by the Iranian Embassy complex, a

blast occurred next to the fourth vehicle. Id. at ¶ 6. Mr. Du Plessis quickly ran to the scene of the

explosion, observing the mortal wounds to his friends and teammates and participating in the

extraction of casualties from the burning vehicle. Id. at ¶¶ 7–8.

                iv.     The January 4, 2006 EFP Attack.

        On January 4, 2006, George Kieser was serving as the left rear shooter of the lead vehicle

in a four-vehicle escort convoy. Ex. 10 at ¶ 4. As they approached the Olympic Bridge, an

explosion occurred, disabling the third vehicle in the convoy. Id. at ¶ 5. Mr. Kieser returned to

the scene of the explosion on foot, assisting with creating a secured perimeter. Id. at ¶ 6. Shortly

thereafter, a secondary explosion occurred nearby, knocking him unconscious and throwing him

to the ground. Id. at ¶ 7.

                v.      The January 2006 EFP Attack.

        In January 2006, Dean Capazorio was serving as the rear gunner of the last vehicle in a

four-vehicle convoy. Ex. 13 at ¶ 5. The third vehicle in that convoy was hit by an explosive

device that had been embedded in the curb. Id. at ¶¶ 6–7. Individuals inside the third vehicle

received shrapnel injuries and Mr. Capazorio sustained permanent hearing damage. Id. at ¶¶ 6. 8.

United States military personnel inspected the damaged vehicle and later informed Mr.

Capazorio’s team that the device was an EFP and that copper residue had been found. Id. at ¶ 7.

                vi.     The March 29, 2006 EFP Attack.

        On March 29, 2006, Schalk Bruwer was the driver of a four-vehicle convoy escorting

personnel to the Baghdad Police Academy. Ex. 15 at ¶ 4. As the convoy travelled through a




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tunnel, an explosion occurred close to Mr. Bruwer’s vehicle. Id. at ¶ 6. The occupants, including

Mr. Bruwer, were struck with shrapnel and the vehicle was disabled. Id. Mr. Bruwer and Mr.

Steenberg were informed later by investigators that the explosion had been caused by an EFP

hidden in a curb inside the tunnel. Id. at ¶ 10; Ex. 11 at ¶ 11.

               vii.    The June 15, 2006 EFP Attack.

       On June 15, 2006, Christiaan Oosthuizen was the left shooter in the lead vehicle of an

escort convoy. Ex. 9 at ¶ 4. As the convoy was approaching the Olympic Bridge, an explosion

occurred close to the right side of the lead vehicle. Id. at ¶¶ 5–6. Mr. Oosthuizen sustained

shrapnel wounds, hearing loss, and a concussion from the force of the blast. Id. at ¶ 7.

               viii.   The March 16, 2010 EFP Attack

       On March 16, 2010, Allan Roberts, Steven Crowley, and John Jameson were riding in the

last vehicle in a four-vehicle convoy. Ex. 3 at ¶ 5; Ex. 5 at ¶ 4; Ex. 6 at ¶ 4. At an Iraqi police

checkpoint, an explosion occurred near the driver’s side door of the vehicle. Ex. 3 at ¶ 6. Mr.

Roberts lost both legs in the explosion. Id. at ¶ 7. Mr. Crowley’s left leg had to be surgically

amputated. Ex. 5 at ¶ 7. Mr. Jameson sustained various injuries to his knees, hips, back, neck,

shoulders, head, and eardrums. Ex. 6 at ¶ 6. The team was later informed by investigators that the

explosion had been caused by an EFP device. Ex. 3 at ¶¶ 8–9.

               ix.     The June 23, 2011 EFP Attack.

       On June 23, 2011, George Riekert was riding in the second vehicle of a three-vehicle

escort convoy. Ex. 8 at ¶¶ 4–5. Mr. Riekert’s team was transporting two civilians, one of whom

was Abdul Mughal, who was seated in the rear passenger side. Ex. 7 at ¶¶ 4–5. At approximately

12:43 p.m., a large explosion occurred to the left of their vehicle. Ex. 8 at ¶ 7. Mr. Mughal

sustained a broken hand and shrapnel injuries, while the other civilian was killed instantly. Id. at




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¶ 8; Ex. 7 at ¶ 7. Mr. Riekert was hit with shrapnel and suffered injuries to his head, neck, and

back. Ex. 8 at ¶ 8.

VI.      JURISDICTION

         A.       Subject Matter Jurisdiction

         A federal district court has subject matter jurisdiction over “any nonjury civil action

against a foreign state,” so long as one of the FSIA’s enumerated exceptions to sovereign

immunity apply. See 28 USC § 1330(a). In this case, Iran is subject to suit under the FSIA’s

terrorism exception to sovereign immunity, see 28 U.S.C. § 1605A, which confers jurisdiction

against a foreign government if: (1) the claim is against a designated “State Sponsor of

Terrorism”; (2) the victims are nationals or employees of the United States; and (3) money

damages are sought for personal injury or death caused by an act of torture, extrajudicial killing,

or hostage taking, or the material support of such acts. 28 USC §1605A(a)(1)–(2).4

         The first two elements are straight-forward.

         The Court may take judicial notice of Iran’s status as a designated State Sponsor of

Terrorism, both at the present time, and when the cause of action arose. See, e.g., Hamen v.

Islamic Republic of Iran, 401 F. Supp. 3d 85, 100 (D.D.C. 2019) (citing 49 Fed. Reg. 2836–02

(Jan. 23, 1984), and U.S. Dep’t of State, State Sponsors of Terrorism, available at

https://www.state.gov/j/ct/list/c14151.htm).

         Plaintiff Abdul Mughal is a United States citizen. See Ex. 7 at ¶ 1. The other Victim

Plaintiffs, although not American citizens, were indisputably acting within the scope of their

employment under a contract with the United States at the time of the EFP Attacks because they



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  Section 1605A(a)(2) also requires the claimant to offer the foreign state an opportunity to arbitrate the claim if the
act occurred within the foreign state against which the claim is brought. Such an offer of arbitration is not required
in this case because the actions did not take place within Iran.


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were on-duty and riding in their employers’ vehicles. See Ex. 3 at ¶ 2; Ex. 4 at ¶ 2; Ex. 5 at ¶ 2;

Ex. 6 at ¶ 2; Ex. 8 at ¶ 2; Ex. 9 at ¶ 2; Ex. 10 at ¶ 2; Ex. 11 at ¶ 2; Ex. 12 at ¶ 2; Ex. 13 at ¶ 2; Ex.

14 at ¶ 2; Ex. 15 at ¶ 2.

        Plaintiffs can satisfy the third element by showing evidence of: a) an act of attempted

extrajudicial killing against each victim; (b) committed with the aid of material support from

Iran; and (c) that resulted in personal injuries to the Victim Plaintiffs.

              i.        The Victim Plaintiffs were subjected to attempted acts of extrajudicial
                        killing.

        The FSIA’s terrorism exception defines an extra-judicial killing by reference to the

Torture Victim Protection Act of 1991 (“TVPA”). See 28 U.S.C. § 1605A(h)(7). Accordingly,

the TVPA provides that an “extra-judicial killing” is “a deliberate killing not authorized by a

previous judgment pronounced by a regularly constituted court affording all the judicial

guarantees which are recognized as indispensable by civilized peoples.” Pub. L. No. 102-256,

§ 3(a), 106 Stat. 73.

        Although the text of this statutory provision does not directly address attempted acts,

given the FSIA’s stated purpose, any “ambiguities [should be interpreted] flexibly and

capaciously.” Gill v. Islamic Republic of Iran, 249 F. Supp. 3d 88, 99 (D.D.C. 2017) (quoting

Van Beneden v. Al-Sanusi, 709 F.3d 1165, 1167 n.4 (D.C. Cir. 2013). Consistent with the

statute’s purpose, the definition of “extra-judicial killing” within the TVPA has been interpreted

to “allow[] plaintiffs to assert liability for a defendant's attempted extrajudicial killing, even if no

one died as a result of that attempt.” Id. (citing Warfaa v. Ali, 33 F. Supp. 3d 653, 666 (E.D. Va.

2014); Doe v. Constant, No. 04cv10108, 2006 WL 3490503 at 9 n.3 (S.D.N.Y. Oct. 24, 2006)).

Therefore, in this statutory context, “deliberated” attempts to kill, regardless of whether they




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actually result in deaths, “fall within the scope of Section 1605A(a)(1).” Karcher, 396 F. Supp.

3d at 58.

       Here, as in Karcher, each of the Victim Plaintiffs were subjected to an attempted

extrajudicial killing by means of specially designed roadside explosives known as EFPs. As

discussed in detail throughout this memorandum, an EFP is specially engineered for the purpose

of piercing armored vehicles. Any individual using an EFP, or any entity distributing such

weapons, necessarily possesses the intent to kill the intended targets.

             ii.       These attempted acts of extrajudicial killing were committed with the aid
                       of material support and resources from Iran.

       The relevant definition of “material support or resources” is “any property, tangible or

intangible, or service, including currency or monetary instruments or financial securities,

lodging, training, expert advice or assistance, safehouses, false documentation or identification,

communications equipment, facilities, weapons, lethal substances, explosives, personnel . . . ,

and transportation, except medicine or religious materials.” Hamen, 401 F. Supp. 3d at 103

(quoting 18 U.S.C. § 2339A(b)(1)).

       The act of supplying a weapon that is later used in a terrorist attack is a classic example

of material support, so long as that act was completed “by an official, employee, or agent of such

foreign state while acting within the scope of his or her office, employment, or agency.”

Karcher, 396 F. Supp. at 55 (quoting 28 U.S.C. § 1605A(a)(1)). Here, the IRGC and the IRGC-

QF serve as agents of Iran while arranging for the manufacture and distribution of EFPs into

Iraq. Id. Moreover, the design and nature of EFP devices themselves supports the proposition

that Iran intended for these weapons to be used to kill. Id. at 56 (because of “this deadly

weapon’s design, its delivery to Shi’a militia proxies, and its effective deployment against U.S.

military vehicles, the Court finds that the intended extrajudicial killings were deliberate”).



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       Relying on the same type of evidence as what is presented here, the Court in Karcher

found that “identification of the weapon as an EFP all but necessitates the inference that Iran was

responsible.” Id. at 30. (emphasis in original). By the same vein, “absent any indication that any

of these EFPs was not backed by Iran,” this Court should hold Iran responsible for the provision

of material support and resources towards each of the EFP Attacks. Id. (emphasis in original).

       While this would be sufficient, Plaintiffs here offer evidence that goes beyond Iran’s

pervasive and unique supply of EFPs and training of Iraqi Shia militias in their use against

Americans. In addition, for each of the incidents described herein, Mr. Barker, an explosives

expert with a distinguished military career overseeing the U.S. response to EFPs in Iraq, has

examined the evidence for each attack and concluded that the explosive devices were EFPs of a

type manufactured and proliferated by Hezbollah and the IRGC/IRGC-QF at the direction of

Iran. Such a finding is sufficient to prove that Iran provided material support and resources

towards the EFP Attacks.

                       a.     The November 20, 2004 EFP Attack.

       On November 20, 2004, Leon Botha was driving a vehicle struck by an explosive device.

Ex. 12 at ¶¶ 4–5. He provided photographs of the damage caused by the attack. Id. at ¶ 8. Based

on those photographs, Mr. Barker determined that the transparent armor of the vehicle’s

windshield was penetrated in a manner “that would be expected to result from an effectively

fired EFP.” Ex. 2 at ¶ 38–39 (citing Ex. 12 at 7, 11). Mr. Barker further identified positive

evidence of an EFP in two photographs showing what he refers to as “undoubtedly copper

material.” Id. at ¶¶ 40–41 (citing Ex. 12 at 12–13). Based on his extensive experience, these

photographs led Mr. Barker to conclude “without any reasonable doubt, that this attack involved

an EFP device designed, manufactured, and distributed by Hezbollah and/or the IRGC.” Id. at




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¶ 42. In addition to this assessment, Mr. Botha has stated that he was told “by members of the

United States military that the device used in this incident was determined to be an [EFP].” Ex.

12 at ¶ 9.

                       b.      The May 16, 2005 EFP Attack.

        On May 16, 2005, Johann Steenberg and Jaco Botes were part of a convoy that was

struck by an explosive device. Ex. 11 at ¶¶ 4–5. Mr. Steenberg and Mr. Botes provided

photographs of the damage caused by this attack. Id. at 7–8; see also Ex. 4 at ¶ 9. Based on these

photographs and his experience, Mr. Barker determined that the clean penetrations through both

sides of the vehicle’s steel armor “could only reasonably be expected to have been made by an

EFP device that was designed, manufactured, and distributed by Hezbollah and/or the IRGC.”

Ex. 2 at ¶¶ 44–47 (citing Ex. 11 at 8). Given his personal and professional “knowledge of the

Iraq theater in 2005,” Mr. Barker does not believe that any other weapon available to insurgents

at that time would have resulted in this type of penetration damage, i.e. clean penetration through

the steel armor on one side of the vehicle, travelling through the vehicle, and cleanly piercing the

steel armor on the other side of the vehicle. Id. at ¶ 47.

                       c.      The November 14, 2005 EFP Attack.

        On November 14, 2005, Pierre Du Plessis was part of a convoy that was struck by an

explosive device. Ex. 14 at ¶¶ 5–6. Mr. Du Plessis provided photographs of the damage caused

by this attack. Id. at ¶ 9. Leon Botha, who subsequently responded to this scene, has testified that

he was told by “American military personnel that copper residue was found on the targeted

vehicle” and “that it was suspected that Iranian diplomatic personnel participated in preparing

and executing this incident.” Ex. 12 at ¶ 11. The attack took place outside the Iranian Embassy

complex. Ex. 14 at ¶ 6.




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       Based on the available photographs, Mr. Barker has opined that the size, shape, and

location of the penetrations in the damaged vehicle make it “highly likely that this damage was

caused by an EFP device designed, manufactured, and distributed by Hezbollah and/or the

IRGC.” Ex. 2 at ¶¶ 49–52, 55 (citing Ex. 14 at 3). Mr. Barker also notes that, based on Mr. Du

Plessis’s affidavit, he believes the EFP in this incident was triggered by command wire, id. at

¶ 53, and that the location of the damage was in the transparent armor and in the gap between the

front and rear doors, id. ¶ 54. American intelligence operations confirmed that the Iranian-

directed training identified those same two areas as the weakest spots in an armored vehicle. Id.

The command wire method of detonation, in combination with the precision of the attack, led

Mr. Barker to conclude that the November 14, 2005 attack was committed “with the assistance

of specific training” that was provided “to increase the lethality.” Id.

                         d.    The January 4, 2006 EFP Attack.

       On January 4, 2006, George Kieser was part of a convoy that was subjected to an

explosive attack. Ex. 10 at ¶¶ 4–5. Mr. Kieser provided photographs of the aftermath of that

incident. Id. at ¶ 10. After reviewing those photographs, Mr. Barker highlighted one image where

the penetration of the steel armor “perfectly matches” the damage that would be expected from

an EFP and with copper residue “clearly visible.” Ex. 2 at ¶¶ 57–60 (citing Ex. 10 at 4). Mr.

Barker also identifies two other images containing copper fragmentations, giving him “a high

degree of certainty in stating that this attack was carried out using an EFP device designed,

manufactured, and distributed by Hezbollah and/or the IRGC.” Id. at ¶¶ 60–61 (citing Ex. 10 at

5–6). He is not aware of any other types of explosives in the Iraqi theatre at the time that would

penetrate the steel armor with “no material deformation” and leave small copper fragments in the

hole. Id. at ¶¶ 59–61.




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                       e.      The January 2006 EFP Attack.

       In January 2006, Dean Capazorio was a member of a convoy that was struck by an

explosive device. Ex. 13 at ¶¶ 5–6. Photographs of the location where this incident took place

were provided by Mr. Capazorio. Id. at ¶ 11. One of those pictures shows the location of the

explosive device and Mr. Barker opines that this represents a blast seat “consistent with the

design and tactical deployment of EFP devices,” Ex. 2 at ¶¶ 63–64 (citing Ex. 13 at 6). The lack

of damage to the surrounding area is also unique to an EFP-type design. Id. The image of the

damage to the convoy vehicle shows the presence of copper residue. Ex. 2 at ¶¶ 65–66 (citing

Ex. 13 at 5). Mr. Capazorio also testified that American military personnel informed him that

“they had found copper residue both in and on the damaged vehicle.” Ex. 13 at ¶ 7. Based on all

of this information, Mr. Barker stated “that it is far more likely than not that this incident

involved an EFP device that was designed, manufactured, and distributed by Hezbollah and/or

the IRGC.” Ex. 2 at ¶ 68.

                       f.      The March 29, 2006 EFP Attack.

       On March 29, 2006, Schalk Bruwer was driving an escort vehicle that was struck by an

explosive device. Ex. 15 at ¶¶ 4, 6. Mr. Bruwer provided photographs of the damage done to his

vehicle. Id. at ¶ 9. Based on these photographs, Mr. Barker summarized that observable damage

patterns were “similar to many confirmed EFP attacks that [he] investigated and documented” in

his career. Ex. 2 at ¶¶ 70–73. The tightly distributed penetrations indicate the blast was likely

triggered by a PIR sensor that would be most likely used with an EFP. Id. at ¶ 71. And the

vehicle was devoid of any tearing marks typically associated with a mortar, an artillery round, or

an IED. Id. at ¶ 72.




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       Mr. Bruwer was informed after the incident that the explosive device was an EFP and

that it “had been disguised in polystyrene to make it appear as part of the curb.” Ex. 15 at ¶ 10.

Johann Steenberg was also informed “by military investigators that an EFP device had been

hidden into the curb.” Ex. 11 at ¶ 11. According to Mr. Barker, that type “of camouflage was

commonly used with EFP devices and unlikely to be used with the other types of explosive

weapons available to Iraqi militias in 2006.” Ex. 2 at ¶ 74. Based on all of this, Mr. Barker

opines that “it is far more likely than not” that this incident “involved an EFP device designed,

manufactured, and distributed by Hezbollah and/or the IRGC.” Id. at ¶ 75.

                       g.      The June 15, 2006 EFP Attack.

       On June 15, 2006, Christiaan Oosthuizen was riding in a vehicle that was hit with by an

explosive device. Ex. 9 at ¶¶ 4, 6. Mr. Oosthuizen provided pictures of the resulting damage. Id.

at ¶ 8. In one of those pictures, Mr. Barker identified evidence of clean penetration holes through

both sides of the armored vehicle. Ex. 2 at ¶¶ 77–79 (citing Ex. 9 at 4). The clean exit hole on the

other side of the vehicle demonstrates that “the slug was still travelling at a speed significant

enough to cleanly penetrate the driver’s side transparent armor on its way out of the vehicle.

Aside from an expertly manufactured, assembled, and detonated EFP device, no weapon

available to militias in Iraq in 2006 could have accomplished that feat.” Id. at ¶ 80. This damage,

in Mr. Barker’s opinion, “could only have been made by an EFP device designed, manufactured,

and distributed by Hezbollah and/or the IRGC.” Id. at ¶¶ 80–81.

                       h.      The March 16, 2010 EFP Attack.

       On March 16, 2010, Allan Roberts, Steven Crowley, and John Jameson were travelling in

a vehicle that was struck by an explosive device. Ex. 3 at ¶¶ 5–6. Mr. Roberts has provided a




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copy of the report from the military team that investigated the scene of the attack. Id. at ¶ 9.5

That report repeatedly identifies the device as an EFP. See id. at 3–10. After reviewing the

report, including the images contained therein, Mr. Barker highlights the the narrow point of

entry into the vehicle from the blast. Ex. 2 at ¶¶ 86–87 (citing Ex. 3 at 8). He views the damage

shown as “strongly indicative of an EFP design” and that “any other type of device would have

likely distributed far more widespread damage to the impact area.” Id. at ¶ 87. Moreover, the

placement of the explosive device described by the report “is much more consistent with an EFP

device than any other plausible option given the time and place.” Id. at ¶ 88. Mr. Barker

confidently supports the conclusion of the EOD Report by stating that the damage “could only

have been made by an EFP device designed and distributed by Hezbollah and/or the IRGC.” Id.

at ¶ 89.

                           i.       The June 23, 2011 EFP Attack.

           On June 23, 2011, George Riekert and Abdul Mughal were riding in a vehicle that was

struck by an explosive device. Ex. 8 at ¶¶ 4–8. Mr. Riekert has provided photographs of the

damage to the vehicle. Id. at ¶ 10. A video of the incident was made available to and reviewed by

Mr. Barker. Ex. 2 at ¶ 90. Based on the photographs and video recording, Mr. Barker observed

that a large slug cleanly penetrated the vehicle’s transparent armor from a blast seat that was at

least thirty feet away at the time of the explosion. Id. at ¶¶ 91–93. The image he highlights in his

report shows a “clean penetration of a large slug though transparent armor.” Id. at ¶ 92 (citing



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 The plaintiffs in Karcher relied upon many similar military investigative reports. There, the victims were active-
duty members of the military, making the completion of such a report after those incidents far more likely. To
support the evidentiary value of those reports, the Karcher plaintiffs offered the expert testimony of Leo Bradley to
establish “that the United States’ findings—repeated in many reports from top U.S. government and military
officials—that the type of EFPs used to injure Plaintiffs were of Iranian provenance and provided to Special Groups
by Iran to attack Coalition Forces, are supported with a robust system for developing evidence and analysis.”
Karcher, ECF No. 87 at 48. Here, Plaintiffs rely on that same “robust system” for evidentiary support of the March
16, 2010 attack.


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Ex. 8 at 4). He believes that this type of damage “can only reasonably be explained by the

involvement of an EFP.” Id.

        In sum, Mr. Barker opines that “each of the explosive attacks at issue in this case was

carried out using at least one EFP device of the type designed, manufactured, and distributed into

Iraq by Hezbollah and/or the IRGC.” Id. at ¶ 98. Given Iran’s responsibility for introducing EFP

devices into Iraq, intentionally raising the lethality of Iraq’s Shia militias in the process, such a

finding is more than sufficient to amount to the provision of material support towards the attacks

at issue in this case.

             iii.        The Victim Plaintiffs all suffered personal injuries as a result of the EFP
                         Attacks.

        Each of the Victim Plaintiffs have provided a sworn statement that briefly identifies the

physical, mental, and emotional toll of their exposure to one of the EFP Attacks.

        Allan Roberts suffered the loss of both legs. Ex. 3 at ¶ 7. Jaco Botes received shrapnel

wounds to his leg, arm, and neck, a large bruise on his face, and a burst eardrum. Ex. 4 at ¶ 8.

Steven Crowley lost his left leg. Ex. 5 at ¶ 7. John Jameson incurred injuries to his knees, hips,

back, neck, shoulders, eardrums, and suffered a traumatic brain injury. Ex. 6 at ¶ 6. Abdul

Mughal broke his hand. Ex. 7 at ¶ 7. George Riekert sustained shrapnel wounds and injuries to

his head, neck, and back. Ex. 8 at ¶ 8. Christiaan Oosthuizen suffered a traumatic loss of hearing,

a concussion, and shrapnel wounds. Ex. 9 at ¶ 7. George Kieser injured his knee and incurred a

traumatic brain injury. Ex. 10 at ¶ 7. Johann Steenberg injured his knee and developed severe

post-traumatic stress disorder. Ex. 11 at ¶¶ 11–12. Leon Botha sustained shrapnel wounds and a

traumatic brain injury. Ex. 12 at ¶ 7. Dean Capazorio suffered permanent hearing loss and severe

post-traumatic stress disorder. Ex. 13 at ¶¶ 8, 12. Pierre du Plessis incurred severe post-traumatic




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stress disorder. Ex. 14 at ¶ 10. Schalk Bruwer sustained a significant shrapnel injury to his left

arm. Ex. 15 at ¶ 6.

        Such uncontroverted testimony is sufficient to establish the existence of personal injuries

necessary to satisfy this final element. See Ewan, 2020 WL 3081939, at *2 (explaining that

“sworn affidavits or declarations” may be sufficient to satisfy the evidentiary burden on default).

If the Court grants this Motion as to liability, or requires a full evidentiary hearing, Plaintiffs are

prepared to fully detail the extent of these injuries, and to support these claims with medical

documentation and expert medical testimony to prove the extent of each Victim Plaintiffs’

injuries.

        In sum, the Victim Plaintiffs have shown all the necessary elements to establish a waiver

of Iran’s sovereign immunity for a suit arising out of the EFP Attacks. Namely, that (1) Iran is a

designated state sponsor of terrorism, see supra p. 17; (2) the Victim Plaintiffs were serving as

employees of the United States at the time of the EFP Attacks, see supra p. 17; and (3) Iran’s

material support to Iraqi Shia militias was a proximate cause of the injuries sustained in the EFP

Attacks, see supra Part IV.A.ii. Accordingly, this Court should find that Iran has forfeited any

claim to sovereign immunity and that this Court may exercise subject matter jurisdiction over the

claims asserted herein.

        B.       Personal Jurisdiction

        Federal district courts may exercise personal jurisdiction over a foreign state when: (1)

the court has subject matter jurisdiction; and (2) the defendant is properly served pursuant to 28

U.S.C. § 1608. See 28 U.S.C. § 1330(b). The preceding section shows the basis for satisfying the

first element, this Court’s subject matter jurisdiction, and proper service was obtained as is

described below, thereby satisfying the second element for personal jurisdiction.




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       Title 28, Section 1608 prescribes the four methods of obtaining proper service in FSIA

cases. See 28 U.S.C. § 1608(a)(1)–(4). These methods must be attempted in ascending order, but

only to the extent that each is feasible in a specific case or applicable to a specific defendant. Id.

The first two methods of service under Section 1608—a “special arrangement for service

between the plaintiff and foreign state” and “in accordance with applicable international

convention,” respectively—do not apply here, as Plaintiffs have no “special arrangement” for

service with Iran, and Iran is not a party to “any applicable international convention on service of

judicial documents.” See Valore v. Islamic Republic of Iran, 700 F.Supp.2d 52, 70 (D.D.C.

2010); Schwartz v. Islamic Republic of Iran, Case No. 1:18cv1349, 2020 WL 7042842, at *15

(D.D.C. Nov. 30, 2020).

       Plaintiffs initiated the third method of service, via foreign mailing pursuant to 28 U.S.C.

§ 1608(a)(3), on June 8, 2020. ECF No. 6. The Clerk’s office was unable to effect service in this

manner. See ECF No. 7. After waiting the requisite thirty days, Plaintiffs initiated the final

method of service, in accordance with 28 USC § 1608(a)(4), on July 16, 2020. ECF No. 8. On

July 30, 2020, the Clerk transmitted those documents to the State Department for service through

diplomatic channels. See ECF No. 11.

       The State Department confirmed on December 4, 2020 that the Iranian Ministry of

Foreign Affairs was served with the pleadings on November 4, 2020. ECF No. 13.

       Iran is outside the protection of sovereign immunity, see supra Section VI.A, and, as

explained in this section, Plaintiffs have fully complied with the service requirements of Section

1608(a). Therefore, this Court may properly exercise personal jurisdiction over Iran in this

matter. See 28 USC § 1330(b).




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VII.      LIABILITY

          Liability in FSIA cases is traditionally determined in one of two ways: the most straight-

forward of which is by proving the elements necessary to satisfy the federal cause of action

established by Congress in Subsection (c) of Section 1605A; however, if a plaintiff does not

advance this statutory cause of action, he or she may always pursue common law remedies.

          Historically, the FSIA was not interpreted to create a federal cause of action but rather to

operate as a “pass-through” for state law claims. See Owens, 864 F.3d at 809; Cicippio-Puelo v.

Islamic Republic of Iran, 353 F.3d 1024, 1033 (D.C. Cir. 2004); Fritz, 320 F.Supp.3d at 89. The

law was amended as part of the National Defense Authorization Act in 2008 to explicitly

authorize a federal cause of action, but this amendment “did not upset the prior law permitting

plaintiffs to assert state law claims after clearing the hurdle of foreign sovereign immunity.”

Fritz, 320 F.Supp.3d at 89, citing Owens, 864 F.3d at 807–09.

          Liability for the instant case will be analyzed for the Victim Plaintiffs under the federal

cause of action found in the FSIA and for the Family Plaintiffs under applicable common law

claims.

          A.     Iran is liable to the Victim Plaintiffs under 28 U.S.C. § 1605A.

          “There is almost total ‘overlap between the elements of [§ 1605A(c)’s] cause of action

and the terrorism exception to foreign sovereign immunity.’” Fritz, 320 F.Supp.3d at 86–87,

quoting Foley v. Syrian Arab Republic, 249 F.Supp.3d 186, 205 (D.D.C. 2017). A plaintiff who

proves the waiver requirements of 28 U.S.C. §1605A(a) and is a U.S. national, military member

or government contractor at the time of the terrorist act, “has also established entitlement to relief

as a matter of federal law.” Fritz, 320 F.Supp.3d at 87. Put differently, for the Victim Plaintiffs,

“the elements of immunity and liability . . . are essentially the same.” Warmbier v. Democratic




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People's Republic of Korea, 356 F. Supp. 3d 30, 54 (D.D.C. 2018) (quoting Kilburn v. Islamic

Republic of Iran, 699 F.Supp.2d 136, 155 (D.D.C. 2010)).

        Those 1605A elements—that Iran was designated as a state sponsor of terrorism; that the

Victim Plaintiffs were performing a contract for the United States and acting within the scope of

their employment; that money damages are being sought for personal injuries caused by

attempted acts of extrajudicial killing, or the material support of such acts—are the same under

both the sovereign immunity waiver and the liability aspects of the statute. See id.; see also 28

U.S.C. § 1605A(c). Accordingly, the Victim Plaintiffs are entitled to federal statutory liability as

a matter of law for the reasons detailed above. See supra at Section IV.A.

        B.     Iran is liable to the Family Plaintiffs under D.C. law.

               i.      D.C. law should apply to the Family Plaintiffs’ claims.

        In Owens, 864 F.3d 751, (D.C. Cir. 2017), the Republic of Sudan argued that the 2008

amendments to the FSIA statute creating a federal cause of action also served to implicitly

revoke a claimant’s ability to rely on state law claims once jurisdiction was established. Id. at

808 (“Sudan suggests the Congress struck a deal when it recodified the new terrorism exception

in §1605A: A plaintiff could sue under the new federal cause of action but could no longer press

a state-law claim against a foreign sovereign via the pass-through process”). The D.C. Circuit

flatly rejected that argument:

               Of course, in most cases brought under the new terrorism exception,
               the plaintiff need not rely upon state tort law. This does not,
               however, imply that the Congress intended to foreclose access to
               state law by those who need it, as do foreign family members. U.S.
               nationals will continue to sue under § 1605A(c) and benefit from its
               consistent application. But the pass-through approach remains
               viable to effectuate the intent of the Congress to secure recoveries
               for other plaintiffs harmed by a terrorist attack.

Id. at 809.



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       In circumstances where the federal cause of action is either not available to or not

advanced by a particular plaintiff, this Court must first determine what substantive law applies.

This determination is accomplished by applying the choice of law rules of the forum state.

Oveissi v. Islamic Republic of Iran, 573 F.3d 835, 840 (D.C. Cir. 2009); Owens v. Republic of

Sudan, 826 F.Supp.2d 128 (D.D.C. 2011), aff’d in part and vacated in part on other grounds,

864 F3d 751 (D.C. Cir. 2017)

       The District of Columbia blends a “governmental interest analysis” with a “most

significant relationship test.” Fritz, 320 F.Supp.3d at 89 (quoting Oveissi, 573 F.3d at 842).

Under the governmental interest analysis, this Court should evaluate “the governmental policies

underlying the applicable laws and determine which jurisdiction’s policy would be most

advanced by having its law applied to the facts of the case under review.” Ercules & Co., Ltd. V.

Shama Rest. Corp., 566 A.2d 31, 40–41 (D.C. 1989).

       The “most significant relationship test” requires this Court to consider four factors set

forth in the Restatement (Second) of Conflict of Laws: (1) “the place where the injury occurred;”

(2) “the place where the conduct causing the injury occurred;” (3) “the domicile, residence,

nationality, place of incorporation and place of business of the parties;” and (4) “the place where

the relationship, if any, between the parties is centered.” Id. (quoting Restatement (Second) of

Conflict of Laws § 145(2) (1971)). Consideration should also be given to the needs of

international systems, the relevant policies of the forum, predictability, certainty and uniformity

of result, and ease in the determination and application of the law to be applied. Dammarell v.

Islamic Republic of Iran, 2005 WL 756090 at *18 (D.D.C. Mar. 29, 2005); Fritz, 320 F.Supp.3d

at 90. Moreover, as a general rule, the law of the forum governs, “unless the foreign state has a

greater interest in the controversy.” Owens, F.Supp.2d at 154.




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       In similar FSIA cases addressing this issue, this Court has applied the substantive laws of

the District of Columbia instead of the law where the injury occurred (Iraq) or the law where the

plaintiffs happen to reside. For example, in Owens, this Court applied D.C. law rather than the

law of the countries where the U.S. embassy bombings at issue occurred, finding that the United

States had a “unique interest” in having its domestic law apply in terrorism cases, especially

those directed against American interests. Id. “Furthermore, in light of the 2008 amendments to

FSIA that seek to promote uniformity and extend access to U.S. federal courts to foreign national

immediate family members of victims of terrorism, the law of the forum state, the District of

Columbia, should provide the rule of decision.” Id. at 154–55.

       Similarly, in Dammarell, this Court applied D.C. law in a case involving an attack on the

U.S. embassy in Beirut, stressing the fact that the United States has a unique interest in having its

domestic law apply to an attack on its embassy and diplomatic personnel overseas. 573 F.3d at

843. And in Fritz, a case involving United States soldiers abducted and killed by an Iraqi militia

aided by Iran, this Court emphasized the “unique interest” of the United States in applying

domestic law in terrorism cases and concluded that “the seat of the federal government” should

provide the substantive law in such a case. 320 F.Supp.3d at 91.

       Here, the Victim Plaintiffs were targeted with the EFP Attacks because they were

advancing American efforts in Iraq. Like the circumstances in Owens, Dammarell, and Fritz, the

EFP Attacks were terrorist attacks directed against American interests and the United States

therefore has a unique and compelling reason for its domestic law to apply. In the interests of

uniformity and certainty, the law of “the seat of the federal government” should govern, and this

Court should apply D.C. law to the claims raised herein. See id.




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               ii.     D.C.’s Substantive Law Provides a Remedy for the Family Plaintiffs.

       District of Columbia law provides a cause of action for the Family Plaintiffs that is the

functional equivalent of the solatium damages available under 28 U.S.C. § 1605A.

       To establish a prima facia case of intentional infliction of emotional distress under D.C.

law, a plaintiff must establish: (1) extreme and outrageous conduct on the part of the defendant

which, (2) either intentionally or recklessly, (3) caused the plaintiff to suffer severe emotional

distress. Larijani v. Georgetown Univ., 791 A.2d 41, 44 (D.C. 2002). Acts of terrorism, “by their

very definition,” amount to extreme and outrageous conduct. Valore, 700 F.Supp.2d at 77; Mwila

v. Islamic Republic of Iran, 33 F.Supp.3d 36, 40 (D.D.C. 2014). As set forth in detail above, Iran’s

conduct was intentional and reckless, necessarily causing the Family Plaintiffs severe emotional

distress. This anguish, as noted in Owens, is an intentional part of the hostage taker’s strategy.

Accordingly, Iran is liable to the Family Plaintiffs for intentional infliction of emotional distress.

       In Owens, the D.C. Circuit directly assessed whether terrorism plaintiffs who were not

present at the scene of a terrorist attack could have a cause of action under the District of

Columbia’s framework of intentional infliction of emotional distress. Because D.C. had adopted

the standard for intentional infliction of emotional distress set forth in the Restatement (Second)

of Torts, Sudan argued on appeal that D.C. law therefore incorporated the Restatement’s

“presence requirement.” Owens, 864 F.3d at 810. But the D.C. Circuit noted that the Restatement

left “open the possibility of situations in which presence at the time may not be required.” Id.

       The D.C. Circuit certified the issue to the D.C. Court of Appeals. Id. at 812. The D.C.

Court of Appeals held that the family member of a person injured by a terrorist attack did not

have to be present in order to have a claim for intentional infliction of emotional distress.

Republic of Sudan v. Owens, 194 A.3d 38, 42 (D.C. 2018). The Court of Appeals reasoned that




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the policy considerations underlying the presence requirement were more than satisfied by the

strict jurisdictional requirements of 28 U.S.C. § 1605A:

               The presence requirement serves many purposes. It shields
               defendants from unwarranted liability, tries to ensure that
               compensation is awarded only to victims with genuine claims of
               severe emotional distress, and provides a judicially manageable
               standard that protects courts from a flood of IIED claims. See
               Restatement Second § 46 cmt. l. In FSIA terrorism cases, however,
               the presence requirement is not needed to achieve these goals: the
               very facts that justify stripping foreign sovereigns of their immunity
               allay the concerns that the presence requirement was designed to
               address.

               ...

               Defendants in FSIA terrorism cases do not need this additional
               protection. Acts of terrorism are, by their very nature, designed “‘to
               create maximum emotional impact,’ particularly on third parties.” .
               . . Therefore, when foreign states provide material support for
               terrorist attacks, it should come as no surprise that the acts they
               facilitated have caused severe emotional distress to persons who
               were not present at the time.

               Another purpose of the presence requirement is to increase the
               likelihood that only plaintiffs with “genuine” complaints of severe
               emotional distress can recover. See Restatement Second § 46 cmt. l.
               Yet, the risk of trivial or feigned claims is exceedingly low when the
               anguish derives from a terrorist attack that killed or injured a
               member         of       the      plaintiff’s     immediate      family
               . . . Consequently, in such circumstances, courts need not rigidly
               enforce the presence requirement to ward off disingenuous claims.

Id. at 43–44 (emphasis in original). Accordingly, the Family Plaintiffs can maintain their claim for

intentional infliction of emotional distress under D.C. law, despite the fact that they were not

present with the Victim Plaintiffs at the time of the EFP Attacks.

VIII. CONCLUSION

       Iran purposefully manufactured EFPs, distributed them into Iraq, and trained Iraqi

militias in their use, all for the express purpose of maximizing American casualties in Iraq. The




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case before the Court is squarely in line with the policy and purpose behind the FSIA’s terrorism

exception. Accordingly, Plaintiffs seek justice from this Court through a finding of liability

against Iran for the attempted extrajudicial killing of the Victim Plaintiffs and the intentional

infliction of emotional distress against the Family Plaintiffs.

       WHEREFORE, Plaintiffs request that the Court issue an Order GRANTING their Motion

for Default Judgment against Iran as to liability and directing Plaintiffs submit a Status Report

within fourteen (14) days containing at least one recommendation for a qualified individual to

serve as a special master for the hearing of evidence as to damages.


Dated: April 2, 2021                           Respectfully submitted,

                                                      /s/ Kevin A. Hoffman
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